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                                        U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                    April 5, 2018

BY ECF and BY E-MAIL

The Honorable Kimba M. Wood
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:    United States v. Steven Brown, S9 16 Cr. 436 (KMW)

Dear Judge Wood:

        Earlier today, the defendant in the above-captioned action entered a guilty plea, before
Magistrate Judge Pitman, to the charge contained in the S9 Superseding Information. The
Government respectfully requests that Your Honor accept the defendant’s guilty plea. Enclosed
please find for your consideration (1) a proposed Order accepting the defendant’s guilty plea and
(2) the transcript of the plea proceeding.


                                                Respectfully submitted,

                                                GEOFFREY S. BERMAN
                                                United States Attorney
                                                Southern District of New York


                                         By:
                                                Katherine Reilly
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Enclosures

cc:    Walter Mack, Esq. (by ECF and by e-mail)
